Case 2:04-cr-20392-SH|\/| Document 73 Filed 04/21/05 Page 1 of 2 Page|D 94

IN THE UNITED STATES DISTRICT COURT

FoR THE WESTERN DIsTRICT oF TEI\INEssEls`f :~.-"` T»? .f ' "

WESTERN DIVISION

UNITED STATES OF AMERICA

V.

DELOIS HARRIS 04cr20392-1-Ma

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY 'I`RIAL ACT

 

The defendant has this day notified the Court that she is attempting to obtain
private counsel to represent her in this action. Pursuant to the Speedy Trial Act, as
set out in 18 U.S.C. §316l(h)(8)(B)(iv), a defendant may be granted a period of
excludable delay While attempting to obtain private counsel

lt is therefore ORDERED that the time period of %/ 201/§§

through § g/Q g&?`$' be excluded from the time its imposed by the Speedy

Trial Act for trial of this case, While the defendant is attempting to obtain private

 

counsel
ARRAIGNMENT rs RESET To WEDNESDAY, 2005 AT 10=00
A.M. BEFORE MAGISTRATE ]UDGE. § W/??//@ ddww/?\\ .
rhiSZo_ day Of A»g`) r\'\ - , 2005.

 

 

UNITED S’IA'ATES MAGISTRATE ]UDGE

Thls document entered on the docket sheet in compliance
with Rule 55 andio\' B?.(b) FRCrP on

73

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 73 in
case 2:04-CR-20392 Was distributed by faX, mail, or direct printing on
April 2l , 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

